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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR: Forest River, Inc., Vanguard Industries of
Michigan, Inc., Vanguard, LLC, their liability
insurers and all released parties as set forth in their

Memorandum of Understanding executed on May
25, 2012.

Settling Setilor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

SETTLOR’S COUNSEL: ERNEST P. GIEGER, JR. (6154)
ANDREW A. BRAUN (#3415)
J. MICHAEL DIGIGLIA (24378)
GIEGER, LABORDE & LAPEROUSE, L.L.C.
One Shell Square
701 Poydras Street, Suite 4800
New Orleans, Louisiana 70139-4800

SETTLEMENT AMOUNT: Amount being deposited under seal per terms of
Memorandum of Understanding executed on May
25, 2012.

OTHER APPLICABLE PROVISIONS: Memorandum of Understanding executed on May

25, 2012.
Plaintiffs’ Counsel Date
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Settlors’ Counsel Date

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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR:

SETTLOR’S COUNSEL:

SETTLEMENT AMOUNT:

OTHER APPLICABLE PROVISIONS:

Gulf Stream Coach, Inc., Fairmont Homes,
Inc., their liability insurers and all released
parties as set forth in their Memorandum of
Understanding executed on

May 24, 2012.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

ANDREW D. WEINSTOCK #18495
JOSEPH G. GLASS #25397

DUPLASS, ZWAIN, BOURGEOIS,
PFISTER & WEINSTOCK

3838 N. Causeway Boulevard, Suite 2900
Metairie, Louisiana 70002

and

Timothy D. Scandurro #18424
Dewey M. Scandurro #23291
SCANDURRO & LAYRISSON
607 St. Charles Avenue

New Orleans, LA 76130

Amount being deposited per terms of
Memorandum of Understanding.

Memorandum of Understanding executed on
May 24, 2012.

This settlement is subject to the following conditions which supplement, and supersede
where appropriate, the terms contained in the Stipulation of Settlement (R. Doc. 25226-1):

1. To ensure that there is no ambiguity, the terms concerning settlement relief
contained in Section III.B. and concerning Notice Cost contained in Section V.D.
of the Stipulation of Settlement are intended to cap this Settlement Group’s
potential pro-rata contribution (divided by Settlement Groups) to a single
$35,000.00 cap for the cost of class notice and charges of the Special Master,

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combined (i.e., if 16 Settlement Groups, $35,000/16 = $2,187.50 total potential
contribution for cost of class notice and charges of special master).

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Plaintiffs’ Counsel Date

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Settlors’ Counsel Date

No

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INDIVIDUAL SETTLEMENT SHEET

(Exhibit A to Stipulation of Settlement)

SETTLING SETTLOR: Jayco, Inc., Jayco Enterprises, Inc., Jayco Corp.,
Starcraft RV, Inc., Interstate Fire and Casualty
Company, Lexington Insurance Company,
Westchester Specialty Insurance Company and Arch
Specialty Insurance Company

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

COUNSEL: Thomas L. Cougill, Bar No. 04877300
R. Mark Willingham, Bar No. 21641500
Willingham, Fultz, & Cougill, LLP
Neil Esperson Building
808 Travis Street, Suite 1608
Houston, Texas 77002

SETTLEMENT FUND: Amount being deposited under seal per terms of
Memorandum of Understanding

OTHER APPLICABLE PROVISIONS: Memorandum of Understanding executed on May
8", 2012.

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Piintife s Counsel Date

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ne Counsel Date
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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR:

SETTLOR’S COUNSEL:

SETTLEMENT AMOUNT:

OTHER APPLICABLE PROVISIONS:

Monaco Coach Corporation, its liability
insurers and all released parties as set forth in its

Memorandum of Understanding executed on May
24, 2012.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

ANDREW D. WEINSTOCK. #18495
JOSEPH G. GLASS #25397

DUPLASS, ZWAIN, BOURGEOIS,
PFISTER & WEINSTOCK

3838 N. Causeway Boulevard, Suite 2900
Metairie, Louisiana 70002

Amount being deposited per terms of
Memorandum of Understanding.

Memorandum of Understanding executed on
May 24, 2012.

This settlement is subject to the following conditions which supplement, and supersede
where appropriate, the terms contained in the Stipulation of Settlement (R. Doc. 25226-1):

1, To ensure that there is no ambiguity, the terms concerning settiement relief
contained in Section III.B. and concerning Notice Cost contained in Section V_D.
of the Stipulation of Settlement are intended to cap this Settlement Group’s
potential pro-rata contribution (divided by Settlement Groups) to a single
$35,000.00 cap for the cost of class notice and charges of the Special Master,
combined (i.e., if 16 Settlement Groups, $35,000/16 = $2,187.50 total potential
contribution for cost of class notice and charges of special master).

2. The settlement of Monaco Coach Corporation is contingent upon approval of the
United States Bankruptcy Court for the District of Delaware.

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Plaintiffs’ Counsel Date

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Settiors’ Counsel Date

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